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                        IN THE UNITED STATES DISTRICT-CblfifT
                           FOR THE DISTRICT OF MARYLAND
                                                                      I
                                                                      i

         Michael E. Kennedy,                                 *
                                            Plaintiff,       *        i

                                                             *        I
                         v.                                  *        ~ivil Action No.
                                                             *
         Hankey Group, 4751 Wilshire Blvd., Suite            *
         100, Los Angeles, California, 90010;                *
         Westlake Services, dba Westlake Financial           *
         Services, 4751 Wilshire Blvd., Suite 100,           *
         Los Angeles, California, 90010; Don                 *
         Hankey, Chairman, Hankey Group, 4751                *
         Wilshire Blvd., Suite 100, Los Angeles,             *
         California, 90010; Ian Anderson, President,         *
         Westlake Financial Services, 4751 Wilshire          *
         Blvd., Suite 100, Los Angeles, California,          *
         90010; Paul Kerwin, Chief Financial Officer         *
         Westlake Financial Services, 4751 Wilshire          *
         Blvd., Suite 100, Los Angeles, California,          *
         90010; Kent Hagan, Vice-President,                  *
         Westlake Financial Services, 4751 Wilshire          *
         Blvd., Suite 100, Los Angeles, California,          *
         90010; and three "John Doe" employee's of           *
         Westlake Financial Services, 4751 Wilshire          *
         Blvd., Suite 100, Los Angeles, California,          *
         90010,                                              *
                  in their individual and                    *
         official capacities,                                *
                                            Defendants.      *
-","-"

                                                         COMPLAINT
                                                                          I


         I.       Jurisdiction in this case is based on:                  I
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                  [X]    Federal question (suit is based upon a :federal statuteorprovision   of the United
                         States Constitution).           ,       I

                  [X]    Diversity (none of the defendants are residents of the state where plaintiff is a
                         resident).  ,                          ;1




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          [X]       Other (explain) Fair Debt Collection.IPractices Act ("FDCPA") of 1977.
                                                           "




         A.         Jurisdiction.




                                                                ,
                                                                I                                       -
                    (1)    The Plaintiff in this action is Michael Edward Kennedy, who presently
 reSI'des at 33250    aI'd Ocean   CIty Road, Parsonsburg, IMaryland 21849.
                                                                II
                    (2)    The Defendants in this action &e:
                                                               ['

         (a.)       The Hankey Group ("Hankey"), WhiC~is a legally registered corporate entity
 within the confines of the State of California, maintaibng                     a corporate business address at 4751
                .                                .'                 I
 Wilshire Blvd., Suite 100, Los Angeles, California, 90010. The Hankey Group operates as the
 parent corporation of Hankey Finance Company; Kni~ht Management Insurance Services, LLC.;
                                                                    I                               '
 Midway Group; Midway Care Rental; Midway Auto FeI).ter; Midway Automotive Group;
 Toyota of North Hollywood; Nowcom Corporation;ElFC                             Acceptance, LLC.; and Westlake
 Financial Services. It is sued as corporate entity and lpecifically provides leadership, direction,
 performance, and overall development and imPleme~ktion                          of policjes and procedures relative
 effecting to the day-to-day operations of its subSidiJ                     companies.
                                                                    I
         (b.)       Westlake Services ("Westlake:'), dba yest1ake Financial Services, is a legally
 registered subsidiary corporate entity within the confines of the State of California, maintaining a
 corporate business address at 4751 Wilshire Blvd., SJite 100, Los Angeles, California, 90010.
                                                                     I


 Westlake Services was incorporated in 1988 and operates as a subsidiary of the Hankey Group.
 Westlake does business specializing in the acquisitiori and servicing of near-prime to sub-prime
 automotive retail installment contracts and debt colledtions relating to these contracts. It further
 originates indirect retail installment contracts throug~eJwoI1Lof.ne~                            used caLdealersin._~~~_
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                                               Complaint   ..!l             2




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 the United States. It is sued as corporate entity and has the overall and specific responsibility for
,ensuring the company has adequate policies and probedures relative to compliance with all
 federal and state debt collection laws and practices.

         (c.)    Don Hankey, who is employed as Chairman of the Hankey Group and maintains
 an official workplace address at 4751 Wilshire Blvd.l Suite 100, Los Angeles, California, 90010.
                                                          I


 He is sued in his individual and official capacities as Chairman of the Hankey Group and is both
 generally and specifically responsible for the overall operations of Hankey and its subsidiaries by
providing leadership; direction and performance in tlie day-to-day operations of its subsidiaries
 including, but not limited to, ensuring Hankey and itJ subsidiaries have adequate policies and
                                                          I
procedures pertaining to debt collection practices and, compliance with all federal and state laws
                                                          I



relative to those collection practice~'1                              .                  ..     .      .
        (d.)     Ian Anderson, who IS employed as PresIdent of Westlake Fmanclal ServIces and
maintains an official workplace address at 4751 Wilsbre Blvd., Suite 100, Los Angeles,
                                                              I
California, 90010. He is sued in his individual and official capacities as President of Westlake
and is both generally and specifically responsible for ~e overall operations of Westlake and
ensuring the development and implementation of ade€juate policies and procedures pertaining to
debt collection practices by the company in complian~e with all federal and state laws, and .                    .
employee adherence to policies and procedures relatJe to those collection practices.
        (e.)    Kent Hagan, who is employed as vicejpresident                  of Westlake Financial Services,
and maintains an official workplace address at 4751 'Yilshire Blvd., Suite 100, Los Angeles,
California, 90010. He is sued in his individual and official capacities as Vice-President of
Westlake and is both generally and specifically respoJsible for the overall operations of
Westlake and ensuring the development and implemehtation of adequate policies and procedures
pertaining to debtcolleclion   practices by the compan~ in compliance with all federal and state
laws, and employee adherence to policies and procedures relative to those collection practices.
                                                              I


        (f.)    Paul Kerwin, who is employed as Chief Financial Officer of Westlake Financial
Services and maintains an official workplace address 1t 4751 Wilshire Blvd., Suite 100, Los
Angeles, California, 90010. He is sued in his individtkl and official capacities as Chief
Financial Officer of Westlake and is both generally an~ specifically responsible for the overall
operations of Westlake and ensuring the development~nd                    implementation of adequate policies
                                                                  I

and procedures pertaining to debt collection practices ~y the company in compliance with all
                                                                  i


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                           .
federal and state laws, and employee adherence to pqlicies and procedures relative to those
                                                              I
collection practices.                                         !




        (g.)    John Doe #1, who is employed as a C~llections Manager of Westlake Financial
Services and maintains an official workplace address at 4751 Wilshire Blvd., Suite 100, Los
Angeles, California, 90010. He is sued in his individUal and official capacities as Collections
                                                              I               .
Manager of Westlake and is specifically responsible for the debt collection efforts of Westlake,
                                                              I
ensuring Westlake employees adherence to all federal and state laws pertaining to debt collection
practices, and ensuring Westlake employees adherende to all company policies and procedures
pertaining to debt collection practices in compliance ~ith those policies and procedures relative
to those debt collection practices.                               !
                                                                  I               .

        (h.)    John Doe #2, who is employed as a Debt Collections Representative of Westlake
Financial Services and maintains an official workplacb address at 4751 ~ilshire Blvd., Suite
100, Los Angeles, California, 90010. He is sued in hJs individual and official capacities as a
Debt Collections Representative of Westlake and is sJecifically responsible for adhering to all
                                                                  !

federal and state laws pertaining to debt collection, aslwell as personally adhering to all policies
and procedures implemented by Westlake pertaining fo those debt collection efforts.
                                                                  I
        (i.)    John Doe #3, who is employed as a Debt Collections Representative of Westlake
Financial Services and maintains an official workplac1 address at 4751 Wilshire Blvd., Suite
100, Los Angeles, California, 90010. He is sued in hik individual and official capacities as Debt
                                                                      !


Collections Representative of Westlake and specifically responsible for adhering to all federal
and state laws pertaining to debt collection, as well as personally adhering to all policies and
procedures implemented by Westlake pertaining to th(j)sedebt collection efforts.
                                                                      I
                                                                      I

        C.      The Complaint In This Matter Is Timely Filed.
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        The statute of limitations for filing a Fair Deb~ Collection Practices Act ("FDCPA 'j
action in accordance with the state laws of Maryland for a comparable civil action is two-years,
with the time commencing from the date the facts sup~orting the claim become known and with
                                                                          I

the exercise of reasonable diligence. The material doc!uments and factual evidence supporting
the instant action became known to Mr. Kennedy in Ahgust of 2009. The Complaint in this

matter is therefore timely filed.                            JL--                                      _
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              D.      Trial Demand.

      ,       The Plaintiff in the above-captioned complaint, Michael E. Kennedy, demands a trial by
jury in this matter.                                         I                                          .


                                                             I
II.                                          Statement ofithe Case

              The Plaintiff in this matter brings suit under je Fair Debt Collection Practices Act of
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1977 ("FDCP A '') and State of Maryland Fair Debt qollection Practices Act collection laws
          .                                                  ,


prohibiting debt collectors from engaging in abusive, 'deceptive or unfair collection practices.


III.                                        Background
              The Plaintiff, Michael E. Kennedy, brings suit!under federal and Maryland debt
collection laws prohibiting debt collectors from engaJing in abusive, deceptive, or unfair
                                                             I
collection practices. Mr. Kennedy asserts that Defendants Hankey Group, Westlake Services
(dba Westlake Financial Services (collectively "Hankky- Westlake"), and three Hankey-Westlake
                       .                                         I
employees knowingly and willingly engaged in an unlawful telephone campaign in an effort to
collect payment on a disputed debt owed Hankey- We~tlake by an individual other than Plaintiff
and wh~ has been identified by Westlake debt collectibn employees as "Marilyn Wilson." The
Plaintiff does not know Marilyn Wilson; has no relatiln to Marilyn Wilson; and is not legally
responsible for any debts incurred by Marilyn WilsonJ The Hankey-Westlake employees further
threatened Plaintiff with repossession of his own perslnal vehicle - a vehicle which he has clear
                                                                 I

title to. Lastly, even after being sent a cease and desist letter by Plaintiff, Hankey-Westlake and
their employees continued in their unlawful telephone campaign in an effort to collect payment
on a disputed debt owed Hankey-Westlake by an individual other than Plaintiff. The individual
and collective acts of Hankey-Westlake         and its emPlotees served to further invade the Plaintiffs
right to privacy.


IV.                                                 Facts
1.)           On or about August 1st, 2009 Plaintiff and his wife switched their wireless service
provider from Sprint to Verizon.                                     I
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2.)     On or about August 1S\ 2009 Verizon providea 443-523-0180 as Plaintiff s new wir~less
cell phone number.
3.)    ,Plaintiff owns and operates two (2) business entities:
                                                                  I

        (a)      AdCon, a business entity specializing in providing advertising concepts and
Audio Visual demo's to its clients; and,
        (b)      Veritable Visages, a business entity specializing in providing graphic arts and
designs to its clients.                                           I'
                       th
4.)     On August 4       ,   2009 Plaintiff had new busines:s cards, business stationary, and business
envelopes printed for his two business entities as iden~ified above in item #3 of this complaint to
incorporate Plaintiffs        wireless cell number.     .        j            .
5.)     Plaintiffs   incurred $1,236.57 in total cost for he printing ofthe items as identified above
                                                                      !

in item #4 of this complaint.                   .                     I

6.)     At approximately 2:26 pm on August 8th, 200' Plaintiff received a telephone call on his
443-523-0180 cell phone number from an individual who identified himself as a representative
of Westlake Financial Services (herein known as              "w+tlake")'
7.)     The Westlake representative, as identified above in item #6 of this complaint, verbally
requested to speak to a "Marilyn Wilson."
8.)     Plaintiff informed the Westlake representative, during this telephone conversation as
identified above in item #6 of this complaint, that Plai~tiff had just received the new telephone
number and did not know any person identified as "Mknlyn Wilson."
9.)     Plaintiff requested the Westlake representativel during this telephone conversation as
identified above in item #6 of this complaint, not tocdntact Plaintiff again as he did not know
any person by the name of "Marilyn Wilson."                 Plainti~fthen ended the telephone conversation.
                                                                          i
10.)     The telephone call identified above in item #6 of this complaint was received by Plaintiff
from telephone number 323-692-8800.
11.)    On information and belief, the telephone numo1eras identified above in item # 10 of this
complaint is telephone directory listed as belonging to Westlake.         i




12.)    At approximately 11:05 am on August 1ih, 20b9 Plaintiff was again contacted by an
individual who identified himself as "Edwin" and a re~resentative of Westlake.
13.)    The Westlake representative, as identified abo~e in item #12 of this complaint, requested
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to speak to "Marilyn Wilson."


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 14.)   Plaintiff again informed the Westlake represJntative, during this telephone conversation
as identified above in item #12 oftWs complaint, thJt Plaintiff had just received the telephone
number and did not know any person identified as "karilyn                    Wilson."
15.)    Plaintiff requested the Westlake representati+,                 during this telephone conversation as
identified above in item #12 of this complaint, not tOicontact Plaintiff again as he did not know
                                                            I

any person by the name of "Marilyn Wilson."            Plaintiff then ended the telephone conversation.
16.)    At approximately 6:37 pm on August 13••,2+9 Plaintiff was once more again contacted
by individual who identified himself as a representative of Westlake.
17.)    The Westlake representative, as identified ab~ve in item # 16 of this complaint, once more.
                         .                                  I
requested to speak to "Marilyn Wilson" and further demanded to know the location of a 2004
   .                                                        I

Chevrolet Blazer.                                           ,
18.)    Plaintiff once again informed the Westlake re~resentative during the conversation as
identified above in item #16 of this complaint that PILntiffhadjust                   received the 443-523-0180
telephone number; did not know any person identifiekas                   "Marilyn Wilson"; and, while Plaintiff
did own a Chevrolet Blazer, it was not a 2001.                  I

19.)    At this point, the Westlake representative as i~entified above in item #16 of this
complaint became verbally loud and abusive by demJnding Plaintiff "put Marilyn Wilson on the
phone right now" and "give me your social securitynbber                     and all the information Qn your
Chevy Blazer and where it can be located."
20.)    Plaintiff again stated during the conversation as identified above in item # 16 of this
                                                                I


complaint that he did not owe Westlake any monies; tefused to provide any information to the
             .                                                  i
Westlake representative relative to his Chevy Blazer as he had clear title to it; and reiterated once
more not to contact Plaintiff again as he did not kn01 "Marilyn Wilson."                                .
21.)    Plaintiff disconnected the conversation when the Westlake representative as identified
above in item #16 of this complaint began using obscbne and profane language toward Plaintiff.
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22.)    Plaintiffs 2001 Chevrolet Blazer was finance~ by the Wilmington Trust Company.
23.)    Plaintiffs   2001 Chevrolet Blazer Wilmington ITrust Company auto loan was paid in full
and Plaintiff had clear title to the vehicle prior to Au~st              1st, 2009.
                        th
24.)    On August 14      ,   2009 Plaintiff mailed a cease bd desist letter, via certified mail, properly
addressed to Westlake Financial Services at 4751 Wilkhire Blvd., Suite 100, Los Angeles,
                                                                    I
California, 90010.                                                  I




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 25.)    Plaintiff, in his cease and desist letter as identrfied above in item #24 of this complaint,
 notified Westlake that: (a) he had received the 443-523-0180 telephone number in August of
 2009; (b) did not know "Marilyn Wilson" nor was hellegally responsible for any debts owed by
                                                            I

her to Westlake; (c) had clear title to his 2001 Chevrqlet Blazer and did not personally owe any
monies to Westlake; (d) demanded that Westlake protide a copy of the contract proving that
Plaintiff owed Westlake a debt and that the alleged debt was unpaid; and (e) formally requested
                                                            I

that, if such debt could not be proved as being owed Westlake by Plaintiff, that Westlake and its
                                                            I

representatives to cease and desist from calling Plaintiff relative to any debts owed Westlake by
"Marilyn Wilson."                                           I                                                     .
                                                            I

26.)    Westlake did not respond to the Plaintiff's ce~se and desist letter as identified above in
item #25 of this complaint.                                 i                               .

27.).   Westlake has not, as ofthe filing ofthis complaint, provided Plaintiff with a copy of any
contract proving that Plaintiff owed Westlake a debt Jnd that the alleged debt was unpaid.
                                                                I
27.)    At approximately 6:51 pm on August 16th, 2009 Plaintiff was again contacted by an
individual who identified himself as "Miguel" and a ripresentative                 of Westlake, and who
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demanded to speak with "Marilyn Wilson."                        I

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28.)    Plaintiff informed the Westlake representative! during this telephone conversation as


nwnber in August of 2009; (b) did not owe Westlake
and desist letter to Westlake on August 14   th
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                                                           t
identified above in item #27 of this complaint, that PI1ntiff: (a) had received the telephone
                                                                        y monies; (c) had mailed a formal cease
                                                   2009; and (cl) did not know "Marilyn Wilson."
29.)    The Westlake representative as identified abo+ in item #27 of this complaint began
using obscene and profane language to Plaintiff, demahded Plaintiff "put Marilyn Wilson on the
                                                                I


phone" and threatened to repossess Plaintiff's Chevy Blazer unless Plaintiff "put Marilyn Wilson
on the telephone right this second."
30.)    Plaintiff, at this point, ended the telephone conversation with the Westlake representative
as identified above in items #27-29 of this complaint.
31.)    At approximately 3: 10 pm on August 17th, 2009 Plaintiff was once again contacted by an
                                                                    I
individual who identified himself as a representative of Westlake, and demanded to speak: with
"Marilyn Wilson."                                                   :
32.)    Once again, Plaintiff informed the Westlake re~resentative, in this telephone conversation
as identified above in item #31 of this complaint, that tlaintiff: (a) had received the telephone


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              number in August of 2009; (b) did not owe Westlake any monies; (c) had mailed a formal cease
              and desist letterto Westlake on August 14th, 2009; a.n.d(d) did not know "Marilyn Wilson."
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              33.)   _The Westlake representative as identified abore in item #31 of this complaint stated to
             Plaintiff during this conversation on August 17th, 200,9, that "I don't give a fuck about no letter,
             just put Marilyn Wilson on the phone or we canmakJlife               tough on you. I've been taping this so
             everyone will know you don't pay your bills"
             34.)    Plaintiff then ended the conversation with the Westlake representative as identified above
             in items #31-33 ofthis complaint.

             35.)       At approximately I :57 pm on August 18th, 2109 Plaintiffwas           once more contacted by an
             individual who identified himself as a representative of Westlake, and demanded to speak with
             "Marilyn Wilson."
             36.)    Plaintiff informed the Westlake representativl'           in this telephone conversation as
             identified above in item #35 of this complaint, that Plaintiff: (a) had received the telephone
             number in August of 2009; (b) did not owe Westlake by monies; (c) had mailed a formal cease
             and desist letter to Westlake on August '14th, 2009; ank (d) did not know "Marilyn Wilson."
             37.)    The Westlake representative as identified abote in item #35 of this complaint stated to
             Plaintiff during this conversation on August 18th, 2009 that "I know Marilyn 'Vilson lives there
                                                                       I

             and we have your address so put her on the phone rig~t now or kiss the car goodbye."
                                                                       I
             38.)    Plaintiffthen   ended the conversation with the Westlake representative as identified above
             in items #35-37 of this complaint.
             39.)    At approximately 1:29 pm on August 22nd, 2009 Plaintiff was contacted by an individual
             who identified himself as a representative ofWestlakJ,            and demanded to speak with "Marilyn     -
             Wilson."
             40.)    Plaintiff informed the Westlake representative, in this telephone conversation as
                                                                           I

             identified above in item #39 of this complaint, that PI~ntiff: (a) did not owe Westlake any
             monies; (b) did not know Marilyn Wilson; (c) had mailed a formal cease and desist letter to
             Westlake on August 14th, 2009; and (d) requested that Westlake and its representatives abide by
             the cease and desist letter and stop making harassing and annoying telephone calls to Plaintiff for
             nonexistent monies owed to Westlake.
             41.)       The Westlake representative as identified above in item #39 of this complaint stated to
                                                                           I
             Plaintiff during this conversation on August 22nd, 2009 that "We can make as many phone calls
                                                                           I
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to you as we want until we either get the money you owe or the car back. Your choice, pay up
and we'll stop calling."

42.)        Plaintiff then ended the conversation with the Westlake representative as identified above
in items #39-41 of this complaint.
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                                                    th
43.)    At approximately 8:18 pm on August 24         ,   20b9 Plaintiff was contacted by an individual
who identified himself as a representative of Westlakb, and again demanded to speak with
"Marilyn Wilson." .                                         I

44.)    Plaintiff again reiterated to the Westlake reprdsentative, in this telephone conversation as
identified above in item #43 of this complaint, that P~aintiff: (a) did not owe Westlake any
monies; (b) did not know Marilyn Wilson; (c) had m~led a formal cease and desist letter to
Westlake on August 14th, 2009; and (d) demanded thlt Westlake stop making harassing and
annoying telephone calls to Plaintiff for nonexistent ~onies owed to Westlake.
45.)    Plaintiff ended the conversatiop. as identified lbove in item #43 of this complaint when
the Westlake representative began using obscene and profane language to Plaintiff in demanding
to speak with "Marilyn Wilson."
46.)    At approximately 12:27 pm on August 26th, 2009 Plaintiff was contacted by an individual
who identified himself as a representative of Westlakt          and demanded to speak with "Marilyn
Wilson."
47.)    Plaintiff once again reiterated to the Westlake. representative, in this telephone
conversation as identified above in item #46 of this complaint, that Plaintiff: (a) did not owe
Westlake any monies; (b) did not know Marilyn Wilsbn; (c) had mailed a formal cease and desist
letter to Westlake on August 14th, 2009; and (d) demkded           that Westlake stop making harassing
and annoying telephone calls to Plaintiff for nonexist~nt monies owed to Westlake.
48.)    The Westlake representative as identified aboJe in item #46 of'this complaint stated to
                                                            I
Plaintiff during this conversation on August 26th, 2009 that "You and Wilson owe us and we can
do whatever is necessary to make you pay your debts. You want to see your credit score go in
the trash -- we can do that - we can make it happen," and "Our legal department reviewed the
account and it's a joint debt owed by you and Wilson ~hat's going to stay on your credit file
forever."
49.)    At this point, Plaintiff ended the conversation with the Westlake representative as
identified above in item #46 of this complaint.


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                                                                                   ,     ~._-,......---
50.)     At approximately 4:58 pm on August 2th, 2009 Plaintiff was once more again contacted
by an individual who identified himself as a represenktive                of Westlake, and demanded to speak
with "Marilyn Wilson."                                      I
                                                            I


51.)     Plaintiff again notified the Westlake represent~tive, in this telephone conversation as
identified above in item #50 of this complaint, that Plbtiff:              (a) did not owe Westlake any
monies; (b) did not know Marilyn Wilson; (c) had mJiled a formal cease and desist letter to
Westlake on August 14th, 2009; aild (d) demanded th1t Westlake stop making harassing and
milloying telephone calls to Plaintiff for nonexistent ~onies owed to Westlake.
52.)     The Westlake representative as identified abo~e in item #50 of this complaint stated to
Plaintiff during this conversation on August     2t!\ 2009          that Plaintiff would "continue receiving
calls from Westlake until Wilson's account was settl+"                  and that "We ",ill institute legal action


53.)     At this point, Plaintiff ended the conversation
identified above in item #50 oftrus complaint.
                                                            r
to garnish your paycheck and take your home if you don't pay this debt."
                                                                    l
                                                                    7iththe Westlake representative as


54.)     On August 28th, 2009, Plaintiff was forced to 4hange the telephone number utilized by his
two business entities due, to and proximately caused ~y, Westlake's harassing and annoying
phone calls and continued threat thereof.
55.)     Plaintiffs   forced changing ofthe telephone number required the printing of new business
cards, business 'stationary, and business envelopes pri~ted for his two (2) business entities as
identified above in item #3 of this complaint.                  I                                         -

56.)     Plaintiffs   incurred the additional cost of $1,436.09 in total cost for the printing of the
items as identified above in item #55 of this complaint
57). .   On information and belief, within five (5) da+ after first contacting Plaintiff, Westlake
and Its representatIves were reqillred to provIde Plamfiffw1th wntten notIce of the amount of
money Plaintiff allegedly owed; the name of the credi~or to whom it was owed; and what action
needed to be taken by Plaintiff if he did not owe the Joney.
                                                                I
58.)     Plaintiff was not provided by Westlake or its r~presentatives with written notice of the
amount of money Plaintiff allegedly owed; the name          If the creditor to whom it was owed; and
what action needed to be taken by Plaintiff if he did nbt owe the money.




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 59.)    On information and belief, Westlake and its representatives were required by law to end
 all telephone calls and collection efforts against PlainJiff after receiving Plaintiff's August 14th,
 2009 formal cease and desist letter.
 60.)    Plaintiff does not owe Hankey, Westlake, or any other subsidiary companies of Hankey,
 any monies.                       .                             I                         .

 61.)    On information and belief, Westlake and its re~resentatives'             use of threats, abusive and
 obscene or profane language, and harassing and annO~ing calls to Plaintiff as described above in
 items #6-53 of this complaint, violated the Fair Debt Collection Practices Act ("FDCPA'') of
 1977 provisions in collecting or attempting to collect in alleged debt.
 62.)    On information and belief, Westlake and its r1presentatives' use of threats, abusive and
 obscene or profane language, and harassing and annoying calls to Plaintiff as described above in
 items #6-53 of this complaint, violated the State ofMJryland's               Fair Debt Collection Practices
 Act, Md Code Ann., Business Regulation
 an alleged debt.
 63.)
                                            .
                                                 S
                                                                 1
                                                     7-101, et S~q., in collecting or attempting to collect


        On information and belief, the continued cont. ting of Plaintiff after August 14th, 2009,
                                                                 '1       .
 by Westlake and its employees was a knowing, willful, and intentional act of the Defendants to
                                                                  i
 violate the Fair Debt Collection Practices Act ("FDCPA '') of 1977 by making harassing and
 annoying calls employing the use of threats, abusive ahd obscene or profane language in the
 attempted collection of an alleged debt.
 64.)   On information and belief, the continued contacting of Plaintiff after August 14th, 2009,
                                                                  l
 by Westlake and its employees was a knowing, Willful , and intentional act of the Defendants to
                                                                      I
. violate the State of Maryland's Fair Debt Collection iractices Act, Md. Code Ann., Business
 Regulation    S   7-101, et seq., in the attempted collection of an alleged debt.
 65.)   The use of threats and threats of repossession, lbusive and obscene or profane language,
 and harassing and annoying calls in the attempted co111ction of an alleged debt owed by Plaintiff,
 as described above in items #6-53 of this complaint, b~ Defendants invaded Plaintiff's right to
                                                                      I
                                                                      I
 privacy and proximately caused emotional distress or Ihentalanguish                being suffered by Plaintiff.
 66.)   The actions of Defendallts as described above ih items #6-53 of this complaint
 proximately caUS~dPlaintiff to suffer the physical and rental re~ctions of apprehension; anxiety;
 depreSSIOn; appetIte dtsorders and weIght; sleepmg problems; fattgue; restlessness; and mood
 changes coupled with a loss of drive and enthusiasm tJ pursue everyday activities and personal
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                                                Complaint    -       L
         Case 1:09-cv-02890-WDQ Document 1 Filed 10/27/09 Page 13 of 24
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 responsibilities by fear ofloss of property, loss ofinbome, and subjection-to adverse actions that
 pertained or related to his personal credit history.

 67.)    The Defendants' use of threats to making cONtinued harassing and annoying calls in the
 attempted collection of an alleged debt owed by Plaibtiff, as described above in items #6-53 of
 this complaint, proximately caused Plaintiff $2,672.J6 in business expenses.
 68.)    The Defendants' continued harassing and amloying calls in the attempted collection of an
 alleged debt owed by Plaintiff, as described above iJ items #6-53 of this complaint, after being
 sent a cease and desist letter, invaded Plaintiffs       righ~ to privacy.
 69.)    On information and belief, Defendants HankJy, Westlake, Don Hankey, Ian Anderson,
 Kent Hagan, and Paul Kerwin had a duty to exercise ordinary care and reasonable diligence to
 ensure Hankey and its subsidiary companies developed and implemented adequate policies and
 procedures pertaining to debt collection practices that complied with all federal and state laws
relative to those collection practices.                       I




 70.)    On information and belief, the failure of Deferdant Hankey, Westlake, Don Hankey, Ian
Anderson, Kent Hagan, and Paul Kerwin to exercise prdinary care and reasonable diligence in
                                                              I
ensuring Hankey and its subsidiary companies developed and implemented adequate policies and
procedures pertaining to debt collection practices thai complied with all federal and state laws
relative to those collection practices, and to ensure e~ployees adherence to those policies and
procedures, subjected the Plaintiff to threats, abusivebd          obscene or profane language, and
harassing and annoying calls by their employees and 1roximately caused emotional distress or
mental anguish being suffered by Plaintiff and a loss         bf $2,672.66    in personal income.
71.)    On information and belief, the failure of Defekdant Hankey, Westlake, Don Hankey, Ian
Anderson; Kent Hagan, and Paul Kerwin to exercise Jrdinary care and reasonable diligence in
ensuring Hankey and its subsidiary companies develo~ed and implemented adequate policies and
procedures pertaining to debt collection practices that complied with all federal and state laws
relative to those collection practices, and to ensure employees adherence to those policies and
                                                      .       I
procedures, further violated the Fair Debt Collection Practices Act ("FDCP A ") of 1977 and
                                                              I


State of Maryland' s Fair Debt Collection Practices Abt, Md. Code Ann., Business Regulation           J
                                                              I

7-101, et seq., by their employees attempting to collec~ an alleged debt that was not owed by
                                                              I

Plaintiff to Defendants ..


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                                           Complaint




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         Case 1:09-cv-02890-WDQ Document 1 Filed 10/27/09 Page 14 of 24

72.)    On information and belief, Defendants Hankey, Westlake, Don Hankey, Ian Anderson,
Kent Hagan, and Paul Kerwin had a further continui~g duty to exercise ordinary care and
reasonable diligence to adhere to, and comply with,     111 federal      and state laws relative and
,pertaining to debt collection practices.
73.)    On information and belief, the failure of Defendant Hankey, Westlake, Don Hankey, Ian
                                                        I

Anderson, Kent Hagan, and Paul Kerwin to exercise ordinary care and reasonable diligence to
adhere to, and comply with, all federal and state laws relative and pertaining to debt collection
practices, and to ensure employees adherence to tho+ federal and state laws relative and
pertaining to debt collection practices, subjected the flaintiffto           threats, abusive and obscene or
profane language, and harassing and annoying calls by their employees and proximately caused
emotional distress or mental anguish being suffered By Plaintiff and a loss of $2,672.66 in
personal income.
74.}    On information and belief, the failure of Defendant Hankey, Westlake, Don Hankey, Ian
Anderson, Kent Hagan, and Paul Kerwin to exercise hrdinary care and reasonable diligence in
ensuring Hankey and its subsidiary companies develdped and implemented adequate policies and
procedures pertaining to debt collection practices thaJ complied with all federal and state laws
relative to those collection practices, and to ensure e~Ployees adherence to those policies and
procedures, further violated the Fair Debt Collection ~ractices Act ("FDCPA '') of 1977 and
State of Maryland's Fair Debt Collection Practtces +t,Md.               Code Ann., Business Regulation    S
7-101, et seq., by their employees attempting to colle~t an alleged debt that was not owed by
Plaintiff to Defendants..                                   1




75.)    On information and belief, Defendants John doe #1, John Doe #2, and John Doe #3 had a
duty to exercise ordinary care and reasonable diligen+ in adhering to, and complying with, all
federal and state laws relative and pertaining to debt crllection practices.
76.)    On information and belief, the failure of Defendants John Doe #1, John Doe #2, and John
Doe #3 to exercise ordinary care and reasonable diligJnce in adhering to, and complying with, all
federal and state laws relative and pertaining to debt cbllection practices further violated the Fair
Debt Collection Practices Act ("FDCPA '') of 1977 ~d State of Maryland's Fair Debt
                                                                I

Collection Practices Act, Md. Code Ann., Business Reigulation            f   7-101, et seq., by their
individual and collective actions in attempting to coll~ct an alleged debt that was not owed by
Plaintiff to Defendants Hankey and Westlake.                    I   .

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                                            Complaint - [_4                                                    -
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                                                                                                              ._.-----
                                                                                                           -_.~
             77.)    On information and belief, the failure of Defendants John Doe #1, John Doe #2, and John
             Doe #3 to exercise ordinary care and reasonable dilikence in adhering to, and complying with, all
             federal and state laws relative and pertaining to debt I collection practices subjected Plaintiff to
             threats, abusive and obscene or profane language, add harassing and annoying calls by their
             individual and collective actions and proximately ca~sed emotional distress or mental anguish
             being suffered by Plaintiff and a loss of $2,672.66 inl personal income.
             78.)    On information and belief, the individual and~or collective actions of Defendants Hankey,
                                                                          I

             Westlake, Don Hankey, Ian Anderson, Kent Hagan, PalJl Kerwin, John Doe #1, John Doe #2,
             and John Doe #3 as described above in items #6 to #~5 of this complaint by subjecting Plaintiff
            to the intentional infliction of emotional distress and bental anguish in violation of Md Code
            Ann., Fam.Law     f   14-101.                                 I                                   .
                                                                              I



            79.)     On information and belief, the individual andior collective actions of Defendants Hankey,
            Westlake, Don Hankey, Ian Anderson, Kent Hagan, iaul Kerwin, John Doe #1, John Doe #2,
            and John Doe #3 as described above in items #6 to #15 ofthis complaint were malicious and/or
            conducted in complete indifference to the rights of others.
                                                                              1

            80.)    On information and belief, the individual and/pr collective actions of Defendants Hankey,
            Westlake, Don Hankey, Ian Anderson, Kent Hagan'iaUl                             Kerwin, John Doe #1, John Doe #2,
            and John Doe #3 as described above in items #6 to #6 5 of this complaint, by communicating .
                                                                              1
            repeated threats and/or use of profane or obscene language, were malicious and conducted in a
            manner reasonably expected to annoy, abuse, tormentl harass, or embarrass another in violation
                                                                                  I                                  .
            of Md CRIMINAL LA W Code Ann. ii3-804)(a)(I), iil804)(a)(2),                           and ii3-804)(a)(3).


            v.                                                   Standards of Law
                    A.     Maryland State Law


                    Pursuant to the provisions of the Maryland Fair Debt Collection Practices Act, Md Code
            Ann., Business Regulation       f   7-101, et seq., in collectiJg or attempting to collect an alleged debt a
            collector may not:                                                    I

                    1.)    U;~orce-orvIolence;--t-
                    2.)Threaten criminal prosecution, unless me transaction involved the violation of a
                       c~minal statute;         "                                     I..                            ,.
                  3.)  DIsclose or threaten to dIsclose mformatIon which affects the debtor s reputatIOn
---------for~edit-w-Orthiness-with_knowledg-0-th~Hlw-infermatien-is-fftJ;>.Jll.o,se=;-----------
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                                                            Complaint   -1_5                                                    ~!!'!'!'!"'_--
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        4.)
                                                                                      ---.~ ...
                Except as permitted by statute, contac a person's employer with respect to a
                                                                                                  --
                delinquent indebtedness before obtain~ngfinal judgment against the debtor;

        5.)     Except as permitted by statute, disclosl or threaten to disclose to a person oilier
                than the debtor or his spouse or, if the ~ebtor is a minor, his parent, information
                which affects the debtor's reputation, khether or not for credit worthiness, with
                knowledge that the other person does Jot have a legitimate business need for the
                information;

        6.)     Communicate with the debtor or a person related to him with the frequency, at the
                unusual hours, or in any other manner ks reasonably can be expected to abuse or _
                harass the debtor;

        7.)     Use obscene or grossly abusive language in communicating with the debtor or a
               person related to him;                [

        8.)     Claim, attempt, or threaten to enforce          right with knowledge that the right do~s
               not exist; or
                                                                                 -.
        9.)     Use a communication which simulates1legal or judicial process or gives the
               appearance of being authorized, issued, or approved by a government,
                                                            I
               governmental agency, or lawyer when it is not.
                                                            I
Maryland Fair Debt Collection Practices Act      f   14-202.

Moreover, Maryland'sFair       Debt Collection Practices Act       f   14-203 provides in pertinent part
that a collector who violates any provision of this subtitle is liable for any damages proximately
caused by the violation, including damages for emotiohal distress or mental anguish suffered
with or without accompanying physical injury.

       Similarly, pursuant to the provision as containe1d in Md. CRIMINAL LA W Code Ann. ~3-
804 pertaining to the misuse of telephone facilities and!equipment, it is:
       (a)     Prohibited. - A person may not use teleJhone facilities or equipment to make:

               (1)       an anonymous call that is reasoJablY expected to annoy, abuse, torment,
                         harass, or embarrass another;

               (2)       repeated calls with the intent to annoy, abuse, torment, harass, or
                         embarrass another; or

               (3) ~ --acomment, request, suggestion, or proposal that is obscene, lewd,
                       lascivious, filthy, or indecent.

       (b)    Penalty.




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                              A person who violates this section is guilty of a misdemeanor and on conviction is
                              subject to imprisonment not exceeding 3 years or a fine not exceeding $500 or
                              both.

                    B.        Federal Law

                    Pursuant to the provisions of the Fair Debt C(j)llection Practices Act (UFDCPA '') of
          197i,    under the provisions of ~806 of the FDCP A pJrtaining to harassment or abuse, a debt
          collector may not engage in any conduct the natural c6nsequence of which is to harass, oppress,
        . or abuse any person in connection with the collection of a debt. Without limiting the general
          application of the foregoing, the following conduct is a violation of this section:
                  (l)     The use or threat of use of violence or other criminal means to harm the physical
          person, reputation, or property of any person.

                 (2)     The use of obscene or profane language or language the natural consequence of
          which is to abuse the hearer or reader.                               I




                  (3)   The publication of a list of consumers ~ho allegedly refuse to pay debts; except to
          a consumer reporting agency or to persons meeting thb requirements of section 603(f) or 604(3)
          of this Act.

                   (4)       The advertisement for sale of any debt to coerce payment of the debt.

                 (5)    Causing a telephone to ring or engagin1 any person in telephone conversation
         repeatedly or continuously with intent to annoy, abuse, or harass any person at the called
         number.

                (6)    Except as provided in section 804, the placement of telephone calls without
         meaningful disclosure of the caller's identity.

         {Codified to 15 USc. 1692dJ

                   Similarly, in dealing with communication in connection with debt collection, g805(c)2 of
         the FDCP A provides that if a consumer notifies a debtt collector in writing that the consumer
         refuses to pay a debt or the consumer wishes the debt doll ector to cease further communication
         with the consumer, the debt collector shall not commukcate                     further with the consumer with
         respect to such debt, except--

      1           Section 806 of title VIII of the Act of May 29, 1968 (pub. L. N10. 90-321), as added by the Act of September 20, 1977
      (Pub. L. No. 95-109; 91 Stat. 877), effective March 20, 1978]
      2           Section 805 of title VIII of the ~ct of May 29, 1968 (pub. L. NjO'90-321), as added by the Act of September 20, 1977
---~(P-ub  ...L.-No.-95-109,~.l-Stat.-8+6),-€ffect~¥e-Mar-Gh-20,-l-9'78- ..._--I-----.-----------                                       __   ~   __


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        (l)        To advise the consumer thaithe debt Gollector's further efforts are being
terminated;

       (2)    To notify the consumer that the debt collector or creditor may invoke specified
remedies which are ordinarily invoked by such debt Jollector or creditor; or

        (3)    Where applicable, to notify the consler                      that the debt collector or creditor
intends to invoke a specified remedy.

If such notice from the consumer is made by mail, notifiCatiOn shall be complete upon receipt.

         Similarly, 9805 (d) provides that, for the purp se of this section, the term "consumer"
includes the consumer's spouse, parent (if the consJer                    is a minor), guardian, executor, or
administrator.
[Codified to 15 Us.c. 1692c}
         Moreover, a debt collector may not use any false, deceptive, or misleading representation
or means in connection with the collection of any debt Without limiting the general application
of the foregoing, the following conduct isa violation lfs807 ofthe FDCPA3:                                       .

.      (1)     The false representation or imp1ication!that the debt collector is vouched for,
bonded by, or affiliated with the United States or any State, including the use of any badge,
uniform, or facsirriile thereof.

         (2) The false representation of--

                   (A) The character, amount, or legal status of any debt; or                                .

                (B) Any services rendered or compensltion which may be lawfully received by
any debt collector for the collectionofa debt.

       (3)   The false representation or implication that any individual is an attorney or that
any communication is from an attorney.

        (4)     The representation or implication that nonpayment of any debt will result in the
arrest or imprisonment of any person or the seizure, gabishment, attachment, or sale of any
property or wages of any person unless such action is lbwful and the debt collector or creditor
intends to take such action.

        (5)        The ::            take any action that cannot legallYbe taken or that is not intended to



                                                                        l
be taken.


          Section 807 of title VIII of the Act of May 29, 1968 (Pub. L. N, . 90-321), as added by the Act of September 20, 1977
(Pub. L. No. 95-109; 91 Stat. 877), effective March 20, 1978; as amended by section 2305 of the Act of September 30, 1996,
(M.L"".J<l4-208;-t.w.s"'~OO'''''Z>'-'''_''''",9~

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          (6)     The false representation or implication that a sale, referral, or other transfer of any
 interest in a debt shall cause the consumer to--

                 (A) lose any claim or defense topayrp.ent ofthe debt; or

                (B) b~come subject to any practice pLhibited by this title.

         (7)    The false representation or imPlicatioi thai the consumer committed any crime or
 other conduct in order to disgrace the consumer.      I                                     .


         (8)    Communicating or threatening to com6unicate to any person credit information
 which is known or which should be known to be fals~, including the failure to communicate that
 a disputed debt is disputed.                         '

          (9)    The use or distribution of any written communication which simulates or is
 falsely represented to be a document authorized, issu~d, or approved by any court, official, or
 agency of the United States or any State, or which crrlates a false impression as to its source,
 authorization, or approval.

        (10)
                                                          i
               The use of any false representation or oeceptive means to collect or attempt to
collect any debt or 10 obtain information concerning consumer.

        (11)    The failure to disclose in the initial written communication with the consumer
and, in addition, if the initial communication with thel consumer is oral, in that initial oral
communication, that the debt collector is attempting to collect a debt and that any information
obtained will be used for that purpose, and the failurelto disclose in subsequent communications
that the communication is from a debt collector, except that this paragraph shall not apply to a
formal pleading made in connection with a legal action.

        (12)   The false representation or implication that accounts have been turned over to
innocent purchasers for value.

        (13)   The false representation or implication that documents are legal process.
                                                          I

        (14)    The use of any business, company, or drganization name other than the true name
of the debt collector's business, company, or organiza~ion.

        (15)    The filIse representation or implication bat documents are not legal process forms
or do not require actlOill5ythe consumer.

       (16)   The false representation or implication that a debt collector operates or is
employed by a consumer reporting agency as defined by section 603(f) of this Act.

[Codified to 15 Us.c. 1692e]



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                                          Complaint   ~   1~9~~~                                   ~~~~~
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               Likewise,~808
                                                      4
                                    of the FDCPA provides that a debt collector may not use unfair or
                                                                                                        ~--
     unconscionable means to collect or attempt to collect any debt. Without limiting the general
     application of the foregoing, the following conduct i1 a violation of this section:
             (1)     The collection of any amount (includihg any interest, fee, charge, or expense
     incidental to the principal obligation) unless such ambunt is expressly authorized by the
     agreement creating the debt or permitted by law.

             (2)      The acceptance by a debt collector from any person of a check or other payment
     instrument postdated by more than five days unless shchperson is notified in writing of the debt
     collector's intent to deposit such check or instrument bot more than ten nor less than three
     business days prior to such deposit.

            (3)    The solicitation by a debt collector of any postdated check or other postdated
     payment instrument for the purpose of threatening or instituting criminal prosecution.

           (4)    Depositing or threatening to deposit any postdated check or other postdated
    payment instrument prior to' the date on such check ot instrument.

            (5)     Causing charges to be made to any pelon for communications by concealment of
    the true purpose of the communication. Such charges include, but are not limited to, collect
    telephone calls and telegram fees.

            (6)    Taking or threatening to take any nonjudicial action to effect dispossession or
    disablement of property if--

                   (A) There is no present right to posse~sion of the property claimed as collateral
    through an enforceable security interest;

                        (B) There is no present intention to taKe possession of the property; or

                        (C) The property is exempt by law froL such dispossession or disablement.

              (7)      Communicating with a consmner regarring a debt by post card.

             (8)    Using any language or symbol, other dian the debt collector's address, on any
                                                                            I

    envelope when communicating with a consumer by use of the mails or by telegram, except that a
    debt collector may use his business name if such namcl does not indicate that he is in the debt
    collection business.

    [Codified to 15 US.C.1692j]



    4        Section 808 of title VIII of the Act of May 29, 1968 (pub. L. No. 90-321), as added by the Act of September 20, 1977
    (pub. LNo. 95-109; 91 Stat. 879), effective March 20, 1978 __           J         ~.c~                                          ~   _




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            Lastly, s809(a) of the FDCPA provides that, within five (5) days after the initial
                                                                                                              ..-
    communication with a consumer in connection with the collection of any debt, a debt collector
    shall, unless the following information is contained iJ the initial communication or the cons~er
    has paid the debt, send the consumer a written notice containing--
            (1)       The amount of the debt;

            (2)       The name of the creditor to whom the tlebt is owed;

            (3)       A statement that unless the consumer, ~ithin thirty days after receipt of the
    notice, disputes the validity of the debt, or any portion thereof, the debt will be assumed to be
                                                                             I         .
    valid by the debt collector;                             I
                                                                             I


             (4)     A statement that if the consumer notifibs the debt collector in writing within the
    thirty-day period that the debt, or any portion thereof,! is disputed, the debt collector will obtain
    verification of the debt or a copy of a judgment against the consumer and a copy of such
    verification or judgment will be mailed to the consumbr by the debt collector; and

           (5)        A statement that, upon the consumer's ~tten                      request within the thirty-.jay period,
    the debt colh~ctor will provide the consumer with the name and address of the original creditor, if
    different from the current creditor.

           9809 (b) similarly provides that if the consumer notifies the debt collector in writing
                                                                             I
 within the thirty-day period described in subsection (a~ that the debt, or any portion thereof, is
    disputed, or that the consumer requests the name and Address of the original creditor, the debt
 collector shall cease collection of the debt, or any diSP~1
                                                           ted portion thereof, until the debt
 collector obtains verification of the debt or a copy of a judgment, or the name and address of the
                                                                             I
 original creditor, and a copy of such verification or judgment, or name and address ofthe
 original creditor, is mailed to the consumer by the deb{ collector. Collection activities and
 communications~.- that do not otherwise violate this titletmay continue during the 30-day period
 referred to in subsection (a) urilessthe consumer has n tified the debt collector in writing that the
. debt, or any portion of the debt, is disputed or that the~onsumer requests the name and address
of the original creditor. Any collection activities and cbmmunication during the 30-day period
may not overshadow or be inconsistent with the disclokure of the consumer's right to dispute the
debt or request t~~address                           of the original cr~ditor.
                                           ~.                                    I

{Codified to 15 Us.c. 1692gJ ',--                                                .

5          Section 809 a/title VIII o/the Act o/May 29, 1968 (Pub. L. No. 90-321), as added by the Act a/September 20, 1977
(Pub. L. No. 95-109; 91 Stat. 879), effective with respect to debts/or whibh the initial attempt to collect occurs after March 20,




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VI.                              Statement of Claiis.

        A.)     FIRST CLAIM.


                DEFENDANTS' ACTIONS WE~                      IN VIOLATION OF THE FAIR DEBT
COLLECTION PRACTICES ACTS OF THE UNITED STATES AND OF THE STATE
OF MARYLAND.

        The Defendants individual and/or collective actions as described above in items #6-66 of
this complaint violated the Fair Debt Collection Prac~ices Act of the United States and of the,
State of Maryland.


        B.)     SECOND CLAIM.

                DEFENDANTS' ACTIONS WERE IMALICIOUS AND/OR CONDUCTED
IN RECKLESS DISREAGARD OF THE PLAINtIFF'S                                RIGHT TO PRIVACY AND IN
COMPLETE INDI~FERENCE TO THE RIGHT~ OF OTHERS.

        The Defendants individual and/or collective Jtions              described above in items #6-66 of
this complaint were malicious in nature and conducte~ with reckless disregard and in complete
indifference to the Plaintiff s right to privacy or to the rights of others.

        C.)     THIRD CLAIM.
       -----~
                DEFENDE-N-TS'ENGAGED IN MALICIOUS AND/OR RECKLESS
                                                        .     I                         .

CONDUCT TO WILLFULL V OR KNOWINGL ViCAUSE, AND PR~~IMATEL Y
R~~ULT IN, THE NEG~~                                                  AL IN 'LICT}10N.':OF~MOTIONAL
.l.)JST~SS;A.-,,~AL             ANGUISH.                                                            ,

        The Defendants individual and/or collective adions described above in items #6-66 of
this complaint were malicious in nature and conducted with reckless disregard which they knew,
or should have known, would proximately cause or reset in Plaintiff suffering, the negligent and

intentional infliction of emotional distress and mentalJi_gu_i_Sh_o
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       D.)     FOURTH CLAIM.

               DEFENDANTS'        ACTIONS WERE IN VIOLATION                                  OF THE CRIMINAL
LAWS OF THE STATE OF MARYLAND.

       The Defendants individual and/or collective attions described above in items #6-66 of
this complaint were malicious in nature and conductek with reckless disregard to the criminal
                                                   -     I
laws of the State of Maryland prohibiting the commuEicating of repeated threats or use of
                                                            I
profane and/or obscene language in a manner reasonably expected to annoy, abuse, torment,
harass, or embarrass another.


VII.                                   Relief Requested.

       WHEREFORE,         Plaintiff requests that the Co                     grant the following relief:
A.     Issue a declaratory judgment stating that:
        1.)    The actions of Defendants Hankey, Westlake, Don Hankey, Ian Anderson, Kent
                    -..                                         I
Hagan, Paul Kerwin, John Doe #1, John Doe #2, and John Doe #3 as described above in items #6
to #66 of this complaint violated the Fair Debt ColleJion Practices Act ("FDCPA ') of 1977.
       2.)     The actions of Defendants Hankey, WJstlake, Don Hankey, Ian Anderson, Kent
Hagan, Paul Kerwin, John Doe #1, John Doe #2, and ~ohn Doe #3 as described above in items #6
                                                                !
to #66 of this complaint violated the provisions ofthe:Maryland                     Fair Debt Collection Practices
Act, Md. Code Ann., Business Regulation 97-101, et seq.,
                                                                    !
        3.)    The actions of Defendants Hankey, Westlake, Don Hankey, Ian Anderson, Kent
Hagan, Paul Kerwin, John Doe #1, John Doe #2, and ~ohn Doe #3 as described above in items #6
to #66 of this complaint violated Plaintiffs   right to privacy.
        4.)    The actions of Defendants Hankey, Wd1stlake,Don Hankey, Ian Anderson, Kent
Hagan, Paul Kerwin, John Doe #1, John Doe #2, and John Doe #3 as described above in items #6
to #66 of this complaint violated Md. Criminal Law Code Ann. 93-804(a)(1); Md. Criminal Law
Code Ann. 93 804(a)(2);and Md. Criminal Law Code Ann; 93-80)(a)(3).
                                                                        I
B.      Award compensatory damages in the follow~ngamounts:
                                                                                                                 th
        1.)     $2,672.66 with accompanying compounded interest commencing on August 28                              ,

2009, at an equitable rate determined by the court, jOiJtly and severally against Defendants

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Hankey, Westlake, Don Hankey, Ian Anderson, KentHagan, Paul Kerwin, John Doe #1, John
Doe #2, and John Doe #3 for the loss of personal income proximately caused by Defendants
actions as described above in items #6 to #66 of this c1omplaint; and,
                                                            I



        2.)        $300,000.0000 jointly and severally a~ainst Defendants Hankey, Westlake, Don
Hankey, Ian Anderson, Kent Hagan, Paul Kerwin, John Doe #1, John Doe #2, and John Doe #3
                                                            I
for the intentional infliction of emotional distress and rental anguish suffered by Plaintiff and
proximately caused by the Defendants violations ofth~ Fair Debt Collection Practices Act
("FDCPA ") of 1977,' Maryland's Fair Debt Collection Practices Act, Md Code Ann., Business
Regulation    S   7-101, et seq.,; and Md Criminal Law Cbde Ann. 93-80, et seq.; and,
                                                            I
        3.)        Award Plaintiff the costs of this action incurred herein, including r~asonable
attorneys' fees and expert fees; and,
                                                            i
        4.)        Award Plaintiff Pre-Judgment and Postpudgment                   interest, as provided by law.
C.      Award punitive damages in the following amounts:
        1.)        $750,000.00 jointly and severally again~t Defendants Hankey, Westlake, Don.
                                                                i
Hankey, Ian Anderson, Kent Hagan, Paul Kerwin, Johh Doe #1, John Doe #2, and John poe #3
for their willful violation of invading Plaintiff's right   4           privacy and their knowing and willful
violations of the Fair Debt Collection Practices Act ("FDCPA ") of 1977; Maryland's Fair Debt
Collection Practices Act, Md. Code Ann., Business Regulation                   S   7-101, et seq.,; Md Criminal
                                                                I

Law Code Ann. 93-80, et seq.; and the state laws and donstitution of the State of Maryland.
                                   .                            .
D.      Grant such other relief as it may appear the.Plaintiff is entitled.


                                         Respectfully subrktted,
                                                            .!I




Dated this 26th day of October, 2009.

                                                                                             Michael E. Kenn.edy
                                                                                      33250 Old Ocean CitY-Road
                                                                                    Parsonsburg, Maryland 21849
                                                                                                  (410) 572-8802
                                                                                                 (443) 523-8196
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                                             Complaint   - 24                                                      !


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